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 1   E. MARTIN ESTRADA                                                                  JS-6
     United States Attorney
 2   DAVID M. HARRIS
     Assistant United States Attorney
 3   Chief, Civil Division
 4   CEDINA M. KIM
     Assistant United States Attorney
 5   Senior Trial Attorney, Civil Division
     MARGARET BRANICK-ABILLA, CSBN 223600
 6   Special Assistant United States Attorney
 7         Office of Program Litigation, Office 7
           Office of the General Counsel
 8         Social Security Administration
 9         6401 Security Boulevard
           Baltimore, MD 21235
10         Telephone: (510) 970-4809
           Email: Margaret.Branick-Abilla@SSA.gov
11   Attorneys for Defendant
12
                                UNITED STATES DISTRICT COURT
13                             CENTRAL DISTRICT OF CALIFORNIA
14                                    EASTERN DIVISION
15   JEFFREY LANDON BECK,                              ) No. 5:23-cv-01527-PD
                                                       )
16                                                     )
                                                       ) JUDGMENT
17          Plaintiff,                                 )
                                                       )
18             v.                                      )
     MARTIN O’MALLEY, 1                                )
19   Commissioner of Social Security,                  )
                                                       )
20                                                     )
                                                       )
21          Defendant.                                 )
                                                       )
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27   1
      Martin O’Malley became the Commissioner of Social Security on December 20, 2023. Pursuant to
28   Rule 25(d) of the Federal Rules of Civil Procedure, Martin O’Malley should be substituted for Kilolo
     Kijakazi as the defendant in this suit. No further action need be taken to continue this suit by reason
     of the last sentence of section 205(g) of the Social Security Act, 42 U.S.C. § 405(g).



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 1         Having approved the parties’ Stipulation to Remand Pursuant to Sentence Four
 2   of 42 U.S.C. § 405(g) and to Entry of Judgment, THE COURT ADJUDGES AND
 3   DECREES that judgment is entered for Plaintiff.
 4   DATED: February 07, 2024
 5                                        HON. PATRICIA DONAHUE
 6                                        UNITED STATES MAGISTRATE JUDGE

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